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 8                                       UNITED STATES DISTRICT COURT
 9                                 SOUTHERN DISTRICT OF CALIFORNIA
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     ETHELYN HOLMES,                                   )    Civil No. 09cv2835 WQH (NLS)
11                                                     )
                            Plaintiff,                 )    NOTICE AND ORDER VACATING
12   v.                                                )    EARLY NEUTRAL EVALUATION
                                                       )    CONFERENCE AND SETTING
13   RETRIEVAL-MASTERS CREDITORS                       )    TELEPHONIC SETTLEMENT
     BUREAU, INC.                                      )    DISPOSITION CONFERENCE
14                                                     )
                            Defendants.                )
15                                                     )
16          The parties have filed a notice of settlement. Therefore, the court VACATES the Early Neutral
17   Evaluation conference currently set for April 19, 2010 and SETS a telephonic Settlement Disposition
18   Conference on April 23, 2010, at 9:30 a.m. before Magistrate Judge Stormes. Plaintiff’s counsel shall
19   initiate the conference call. The telephonic Settlement Disposition Conference will be taken off
20   calendar if the appropriate dismissal papers are filed prior to that time.
21   DATED: March 8, 2010
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23                                                          Hon. Nita L. Stormes
                                                            U.S. Magistrate Judge
24                                                          United States District Court
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